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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


ATLANTIC SPECIALTY INSURANCE CO                         §       Case No. 17-cv-9318
AND EXCESS UNDERWRITERS                                 §
SUBSCRIBING SEVERALLY TO POLICY                         §
NO. TMU-407387                                          §       Judge: Hon. Eldon D. Fallon
                                                        §
         Plaintiff                                      §
                                                        §       Mag: Hon. Janis Van Meerveld
v.                                                      §
                                                        §
PHILLIPS 66 COMPANY                                     §
                                                        §
         Defendant                                      §


       Memorandum in support of motion for Summary Judgment on insurance coverage

         Atlantic Specialty moves this Court for summary judgment, holding that Atlantic Specialty

has no duty to defend or indemnify Phillips 66 because any such obligation is void under La. R.S.

9:2780.1, the LAIA. Atlantic Specialty incorporates by reference its opposition to Phillips 66’s

motion for summary judgment on duty of defense.

1. Phillips 66’s claim must fail under the LAIA.

         The LAIA voids liability insurance in support of the indemnity obligations. It provides, at

(C):

         Notwithstanding any provision of law to the contrary and except as otherwise
         provided in this Section, any provision, clause, covenant, or agreement contained
         in, collateral to, or affecting a motor carrier transportation contract or construction
         contract which purports to require an indemnitor to procure liability insurance
         covering the acts or omissions or both of the indemnitee, its employees or agents,
         or the acts or omissions of a third party over whom the indemnitor has no control
         is null, void, and unenforceable. However, nothing in this Section shall be
         construed to prevent the indemnitee from requiring the indemnitor to provide proof
         of insurance for obligations covered by the contract.




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For the reasons explained in Blanchard’s motion for summary judgment on indemnity, the Phillips

66 / Blanchard MSA that forms the basis of Phillips 66’s claim is a “construction contract” within

the meaning of the statute. As such, the plain text of the statute renders Phillips 66’s claim to

additional insured status “null, void, and unenforceable.” Therefore, Phillips 66 is not, and cannot

be, entitled to additional insured status, to a defense, or to indemnity from Atlantic Specialty, and

summary judgment is appropriate.

       Atlantic Specialty anticipates that Phillips 66 will concede that if the LAIA applies, Phillips

66 is not entitled to additional insured status under Paragraph C. Instead, Phillips 66 may argue for

the application of Section I, which provides a narrow escape hatch, allowing for additional insured

status when paid-for by the additional insured – in effect, a codified version of the Marcel

exception from the LOAIA. Section I provides:

       I. Nothing in this Section shall invalidate or prohibit the enforcement of the
       following:

               (1) Any clause in a construction contract containing the indemnitor's
               promise to indemnify, defend, or hold harmless the indemnitee or an agent
               or employee of the indemnitee if the contract also requires the indemnitor
               to obtain insurance to insure the obligation to indemnify, defend, or hold
               harmless and there is evidence that the indemnitor recovered the cost of the
               required insurance in the contract price. However, the indemnitor's liability
               under such clause shall be limited to the amount of the proceeds that were
               payable under the insurance policy or policies that the indemnitor was
               required to obtain.

               (2) Any clause in a construction contract that requires the indemnitor to
               procure insurance or name the indemnitee as an additional insured on the
               indemnitor's policy of insurance, but only to the extent that such additional
               insurance coverage provides coverage for liability due to an obligation to
               indemnify, defend, or hold harmless authorized pursuant to Paragraph (1)
               of this Subsection, provided that such insurance coverage is provided only
               when the indemnitor is at least partially at fault or otherwise liable for
               damages ex delicto or quasi ex delicto.




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       Atlantic Specialty anticipates Phillips 66 will argue it paid for “the cost of the required

insurance in the contract price.” This argument should fail. Not only did Phillips 66 not pay for

any additional insured premium, Phillips 66’s MSA expressly provides that Blanchard must pay

for the additional premium.

   1. The meaning of I(1) and (2)

       I(1) and (2), together, provide a narrow, limited escape where a would-be indemnitor (but

for the operation of the LAIA) can be an additional insured. The two paragraphs must be read in

conjunction: I(1) allows for contractual provisions allowing for defense and indemnity, but only if

(a) the contract also requires the indemnitor to obtain insurance to insure the obligation to

indemnify, defend, or hold harmless, (b) “there is evidence the indemnitor recovered the cost of

the required insurance in the contract,” and (c) even if both (a) and (b) are complied with, the

indemnity must be coextensive with insurance. I(2) addresses insurance. It allows for additional

insured provisions, but only to the extent that additional insured provision is authorized pursuant

to Paragraph 1, and the indemnitor must be 1% or more at fault.

       Taken together, the only coherent reading of (I) is a codified, stronger version of the Marcel

exception, first recognized in Marcel v. Placid Oil Co., 11 F.3d 563 (5th Cir. 1994). The LAIA is

a broad prohibition on indemnity, and on insurance supporting indemnity. Indemnity and

additional insured provisions are valid and enforceable, but only if the indemnitee pays for the

additional premium (I(1)), and if the indemnitor is at least 1% at fault (I(2)). Applied here, whether

Blanchard is 1% at fault is obviously a fact question at this juncture. But Phillips 66 did not pay

the Marcel premium, so summary judgment is proper for Atlantic Specialty.

       Atlantic Specialty anticipates Phillips 66 will argue that Phillips 66 did pay for insurance,

it just did so remotely, included in the contract price. The work order provides:



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       This Service Order pertains to furnishing labor, tools, materials, equipment,
       transportation, supervision, and insurance to provide the services described in this
       Service Order as directed by Company authorized Representative. (emphasis
       added.)

Oil companies tried the same gambit to get around Marcel, but it was properly rejected. In Hodgen

v. Forest Oil Corp., 87 F.3d 1512 (5th Cir. 1996), the indemnitee argued Marcel applied because

the named insured – there, Operators & Consulting Services, Inc., here, Blanchard – had the same

premium regardless of the number of additional insureds. Second, the indemnitee / additional

insured had a “working policy” allowing its contractors like OCS to factor the cost of naming the

indemnitee into the contract price. Id. The Fifth Circuit properly rejected both arguments. Only if

the indemnitee itself pays for 100% of the premium to be named as additional insured does Marcel

apply. Id. at 1529. Explaining, the Court ruled: “Accepting Forest's argument that OCS could raise

its price according to the amount necessary to cover its insurance costs would gut the LOIA, since

all contractors will take this economically necessary step. The fact that the premiums did not vary

according to the identity of the additional insured does not change the fact that these premiums

were paid, and that OCS paid them.” Id. Similarly, the Marcel court ruled that the indemnitee must

pay completely for the premium to add it as additional insured. Marcel, 11 F.3d at 570. (“In

approving this exception, however, we stress that the exception does not apply if any material part

of the cost of insuring the indemnitee is borne by the independent contractor procuring the

insurance coverage.”) The same result should follow here. It is not enough for Phillips 66 to put in

a service order that it pertains to furnishing insurance.

       Explained above, the LAIA’s text, and the significant body of LOAIA case law, establishes

that merely stating a service order covers the cost of insurance is inadequate to fit through the

LAIA’s narrow escape hatch for additional insured coverage. Here, the text of the MSA establishes

that Phillips 66 did not try to fit through the hatch because the MSA provides that additional

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insured obligations are at cost to Blanchard, not Phillips 66. Phillips 66’s purchase order notes that

in the event of a conflict, the purchase order is subsidiary to the MSA.1

         The MSA, Paragraph 19 (Insurance), requires Contractor (Blanchard) “to maintain

insurance of the types and with limits of liability not less than those set forth below, at its

expense.” (emphasis added.) Phillips 66 is clear that the expense of carrying the insurance is

Blanchard’s, which violates the LAIA. Therefore Phillips 66 cannot be an additional insured.

         The LAIA escape hatch in I(1) should also be read to effect the purpose of the statute. 2 If

the LAIA’s I(1) escape hatch solely required that the indemnitee/additional insured pay more in

additional insurance premium than the price of the contract, it would, in effect, eviscerate the

LAIA, and it would run contrary to the text of the statute. Instead, for the indemnitee to avail itself

of the escape hatch in (I), the contract must “require[] the indemnitor to obtain insurance to insure

the obligation to indemnify” and there must be “evidence that the indemnitor recovered the cost

of the required insurance in the contract price.” That requires, at a minimum, a showing that the

indemnitor obtained a quote for adding the indemnitee as additional insured, passed that quote to

the indemnitee, and the indemnitee paid that amount in full. That complies with I(1). Then, to

comply with I(2), there also must be proof that the indemnitee is 1% or more at fault. Otherwise,

“the required insurance” language in I(1) is meaningless – if this paragraph were complied-with

because there were just evidence that Blanchard was paid more than it cost Blanchard to get

insurance, then the statute would not reference anything about “required insurance,” or about

“obtaining insurance to insure the obligation to indemnify.” Those only make sense in light of a


1
  “This Service Order is issued in accordance with the terms and conditions in Master Service Agreement
CW2291283-MSA-MID- BLANCHARD CONTRACTORS. Where there are conflicts, precedence shall be given to
the aforementioned Agreement.”
2
  See Stone v. Caplan (Matter of Stone), 10 F.3d 285, 289 (5th Cir.1994) (“Indisputably, the goal of statutory
construction is to ascertain legislative intent through the plain language of a statute— without looking to legislative
history or other extraneous sources.”); Robert A. Katzmann, Judging Statutes 31 (2016). (“[L]egislation is a
purposive act, and judges should construe statutes to execute that legislative purpose.”)

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separate, discrete package of insurance obtained by the indemnitor, for the benefit of the

indemnitee, paid-for by the indemnitee.

       Furthermore, if Section I of the LAIA were given such a broad reading, such that the

contract price exceeding the cost to add the indemnitee as additional insured made indemnity

acceptable, the exception would swallow the rule. No contractor would take job where the

additional insurance expense exceeded the profit from the job. Ostensibly, the contractor would

need to cover expenses – wages, materials, and its own insurance, then some share of fixed

overhead, then profit – before it would take a job. If the indemnitee could just claim that the

contract price exceeded the one of those expenses, the LAIA’s prohibition on additional insured

provisions supporting indemnity would, in effect, disappear.

       The better reading is that Section I codifies Marcel, then goes further. First, I(1) requires

the indemnitee to pay for the additional cost to be named as additional insured. Evidence of this

would be an invoice from the broker or the underwriter for that cost, and further proof that it had

been paid by the indemnitee/additional insured. Second, I(2) requires more. Not only must the

indemnitee pay for its coverage, that coverage is only effective if the indemnitee has some fault.

Here, competent summary judgment evidence – the MSA – establishes that Blanchard was

required to bear the cost to add Phillips 66 as additional insured. The additional insured obligations

are invalid under the LAIA, and Phillips did not make an effort to crawl through the Section I

escape hatch. Therefore, summary judgment is appropriate on defense and indemnity.

                                            Conclusion

       Atlantic Specialty moves this Court for summary judgment, dismissing the claims of

Phillips 66 with prejudice. Under the LAIA, Phillips 66 is not entitled to either defense or

indemnity under the Atlantic Specialty policy.



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                                    Respectfully submitted,

                                    HARRIS & RUFTY,

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                               CERTIFICATE OF SERVICE


       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record through the CM/ECF system, this 5th day of June, 2018.




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